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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

  ––––––––––––––––––––––––––––––––––––––– x
  MARK BERRADA;                           :
                                          : Honorable Susan D. Wigenton
                            Plaintiffs,   : Civil Action No. 16 CV 574 (SDW) (LDW)
                                          :
          v.                              :
                                          :
  GADI COHEN and PNY TECHNOLOGIES,        :
  INC., a Delaware corporation;           : Return date: April 16, 2018
                                          :
                            Defendants.   :
                                          :
                                          :
                                          :
  ––––––––––––––––––––––––––––––––––––––– x


                            BRIEF IN SUPPORT OF
                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




                                          WINSTON & STRAWN LLP
                                          200 Park Avenue
                                          New York, New York 10166
   OF COUNSEL:                            (212) 294-6700
   Thomas Patrick Lane                    James S. Richter
   Seth E. Spitzer
   WINSTON & STRAWN LLP                   Attorneys for Defendants Gadi Cohen and PNY
   200 Park Avenue                        Technologies, Inc.
   New York, New York 10166
   (212) 294-6700
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                                     PRELIMINARY STATEMENT
           Mark Berrada provided consulting services to PNY for less than thirteen months for which he

   was fully compensated. His claim that the consulting agreement between he and PNY somehow

   included additional “super-secret” terms is not supported by the facts and rankles common sense.

   Instead of secret backroom deals, every witness and piece of evidence supports that Mr. Berrada was

   paid as agreed. Mr. Berrada’s theory is not only implausible on its face but has not a single scintilla of

   support in the record (other than, of course, in Mr. Berrada’s own self-serving testimony).

           Mr. Berrada also relies on an “agreement” attached to his complaint that he claims is a binding

   employment contract. PNY does not dispute that in July 2014 it offered Mr. Berrada a position as an

   employee. What is undisputedly not true—as evidenced by documents and testimony—is that no

   agreement was ever consummated. This litigation was the first time anyone at PNY ever saw a signed

   offer letter from Mr. Berrada because no such document existed.

           Mr. Berrada’s “pronounced capability for deceptiveness and deceit” underpins this entire

   lawsuit.1 For years, he has stated under oath that he is—and was—unemployed and without income.

   On this basis alone, he should be estopped from claiming he was ever an “employee” of PNY or did

   not receive all the income he was allegedly promised.

           Simply put, the evidence is clear that Mr. Berrada was not (and never was) an employee of

   PNY. Notably, as this litigation has gone on, not only have the terms of Mr. Berrada’s “contracts” with

   PNY changed, but so has the timeframe for, and amount of, damages he seeks. Mr. Berrada now claims

   a right to upwards of hundreds of millions of dollars in return for having provided thirteen months of

   consulting services to PNY. There is no support in the facts, or the law, for his claims.

           Judgment is also appropriate on Defendants’ counterclaims. Mr. Berrada knowingly and


   1
    Not surprisingly, Mr. Berrada has been diagnosed as having “delusional beliefs.” See Declaration of
   James S. Richter, Esq. (“Richter Decl.”) Ex. 81, at PNY-0067694.
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   intentionally misrepresented his purported “expertise” and contacts to induce Defendants into engaging

   him which directly led to hundreds of thousands of dollars in lost product costs. Moreover, during and

   after their consulting relationship ended, Mr. Berrada sent, downloaded, and kept highly confidential

   PNY information without authorization and in direct conflict with nondisclosure agreements he signed.

   Mr. Berrada then proceeded to dispose of his personal laptop and cellphone (on which he did and could

   access PNY servers) and failed to return his PNY-issued laptop to PNY, leaving Defendants

   completely in the dark about the full extent to which Mr. Berrada’s intentional theft of confidential

   information has harmed them. For these reasons, and those discussed below, judgment should be

   entered in favor of Defendants on all claims and counterclaims.

                               SUMMARY OF UNDISPUTED FACTS2
   I.     BACKGROUND
          A.      Mr. Berrada And PNY Enter Into The Consulting Relationship.
          In August and September 2013, Mr. Berrada and PNY had discussions relating to Mr. Berrada

   providing consulting services to PNY. Mr. Berrada’s primary pitch was the introduction of a

   completely new product to PNY: paper shredders. See Defendants’ Statement of Material Facts not in

   Dispute (“SOF”) ¶¶24-36, 64-65.

          Thus, in late September 2013, Mr. Cohen, on behalf of PNY, and Mr. Berrada entered into an

   oral consulting agreement (the “Consulting Agreement”) which had straightforward terms: PNY would

   compensate Mr. Berrada $15,000 a month and reimburse his reasonable business expenses. The

   Consulting Agreement was to be month-to-month. Id. ¶¶37-41.

          Mr. Berrada’s efforts to launch the shredder product were slim and ineffectual. PNY ultimately

   decided not to start the product line because of potential patent issues, safety concerns, and


   2
     Defendants respectfully refer the Court to the undisputed facts set forth in in Defendants’
   accompanying Rule 56.1 Statement (as supported by the exhibits to the Richter Declaration submitted
   herewith).
                                                     2
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   (significantly) a lack of customer interest. Id. ¶¶67-75. PNY then had Mr. Berrada focus on supporting

   the expansion of an already-existing product: PowerPacks. Mr. Berrada was given a team and entrusted

   with making decisions relating to how to grow the category, how to order inventory, what customers

   to approach, what suppliers to use, and how work would be assigned. Id. ¶¶44-47, 76-82, 146-47.

           Mr. Berrada was only compensated for his services when he submitted invoices to PNY. Id.

   ¶¶48-49, 112. Mr. Berrada did not submit his first invoice for services until April 2014 (six months

   after he began providing consulting services to PNY in October 2013). Id. ¶¶112-14, 195. The reason

   why is telling—Mr. Berrada was involved in a contentious child support proceeding where his

   employment and level of income was squarely at issue. In fact, at a hearing in March 2014 Mr. Berrada

   testified (under oath) that he was not employed (and thus had no income). Id. ¶¶189-94. Mr. Berrada

   has since testified here that he was not “employed” during this time. Id. ¶56. Mr. Berrada then

   submitted invoices for the services he provided to PNY for October 2013 – March 2014, as well as

   March, May, and June of 2014 (for which he was compensated by PNY). Id. ¶¶116-18.

           B.      The Parties Negotiate Employment, But Fail To Enter Into A Contract.
           In July of 2014, Mr. Berrada and PNY started negotiating the terms of a potential offer of

   employment. Mr. Berrada was provided with “new hire paperwork,” which he filled out and executed

   (including an acknowledgment that any employment would be at will and not for any set period of

   time). Notably, Mr. Berrada did not list any of his prior employers as references, provide phone

   numbers for prior supervisors, or provide the reason he left any of his prior positions. Id. ¶¶88-91.

           On July 16, 2014, Mr. Berrada was offered in writing a position as a vice-president at PNY

   (the “July 16 Offer”). Mr. Berrada rejected certain terms of this offer, and the parties continued to

   negotiate. In fact, nearly two weeks later, Mr. Berrada set up a meeting with Mark Ciano, the Vice-

   President of Finance at PNY, to discuss his “offer letter.” Thereafter, as negotiations continued,

   Suzanne Blanchette-Grigoletti, who was the Director of Human Resources at PNY, drafted and signed

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   subsequent offers for Mr. Berrada dated July 29, July 30, July 31, and August 1, 2014. As late as

   October 2014, Mr. Berrada again met with Mr. Ciano to discuss his “offer letter.” Id. ¶¶93-109.

           Eventually, negotiations stalled, and PNY made the decision to instead offer Mr. Berrada a

   position as an independent sales representative. This was due, in large part, to Mr. Berrada’s aggressive

   and erratic behavior, which had caused PNY’s executive management to refuse to work with him. Id.

   ¶¶125-31. Thus, on October 15, 2014, Mr. Berrada submitted invoices covering the services he

   provided from July 2014 through October 15, 2014. Id. ¶119. On the invoice, Mr. Berrada wrote that

   it was “Paid in Full,” and signed his name. It was also written: “This invoice is full payment for prior

   relationship/agreement. No monies owed AFTER this payment except for 1 expense report ($3,324.32

   after 10/15/17).” Id. ¶¶119-24. At no point prior to this litigation did Mr. Berrada complain, claim, or

   otherwise assert that he was owed any monies from PNY, commissions or otherwise, in addition to

   what he was already paid (an amount which totaled $272,033.23, see id. ¶¶51, 54).

           C.      Mr. Berrada Rejects The Opportunity To Become A Sales Representative.
           On October 28, 2014, Heidi Stuto, Treasurer of PNY, emailed Mr. Berrada a draft sales

   representative agreement. Id. ¶¶133-36. Mr. Berrada thanked Ms. Stuto for the draft. Id. ¶137.

           On November 11, 2014, Mr. Berrada sent Mr. Ciano an email claiming he was “confused” that

   he was “offered a non-employee manufacturer’s rep agreement[.]”Id. ¶138. Mr. Berrada did not inquire

   why he was receiving this if he already had a signed agreement with PNY, or make any reference to

   commissions, salary, or benefits purportedly due to him. Id. ¶139. On November 19, 2014, Ms. Stuto

   sent Mr. Berrada a revised sales representative agreement noting that he should review it and call her

   with any questions. Mr. Berrada never responded to this email.3 Id. ¶¶141-43.




   3
    For the Court’s convenience, Defendants have created a timeline of the material events in this matter,
   which is attached as Exhibit 83 to the Richter Declaration.
                                                      4
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   II.     THE COMPLAINT
           Nearly a year later, Mr. Berrada initiated this lawsuit. To the surprise of Defendants, Mr.

   Berrada claimed that PNY breached two contracts with him. The first appeared to be a version of the

   Consulting Agreement, but included two additional “terms,” never before referenced by Mr. Berrada:

   (i) a right to 5% of the sales proceeds of PNY’s entire accessory product line and (ii) a right to 25% of

   PNY’s gross profit from the worldwide sale of such products. See Compl. ¶13, ECF No. 1-2.

           Mr. Berrada also attached a purported “written contract,” through which he claimed he was

   offered and accepted a position as a vice-president on July 16, 2014. Id. at Ex. A. Mr. Berrada’s

   “version” contained cross-outs of certain terms that were never approved, let alone ever seen, by PNY.

   Key for Mr. Berrada’s case are the terms he crossed out: (i) his potential employment as being “at

   will,” and (ii) that the July 16 offer “supersedes any other representation or offers made to you in

   connection with your employment.” Compl. at Ex. A. Mr. Berrada claimed that this “contract” entitled

   him to (i) .5% of existing customer sales; (ii) 1% of new customer sales; (iii) a base salary of $120,000

   a year; and (iv) fringe benefits. Compl. ¶15. In connection with both of these “contracts,” Mr. Berrada

   claimed a right to commissions in connection with products on which he never worked. Mr. Berrada

   brought claims for breach of contract and quasi-contract premised on Defendants’ purported failure to

   compensate him in accordance with the terms of these two “contracts,” as well as claims under the Fair

   Labor Standards Act (“FLSA”) and corresponding state law for failing to pay overtime.

           Thereafter, Mr. Berrada amended his complaint and incredibly changed the terms of his

   “version” of the Consulting Agreement. Now, Mr. Berrada claimed a right to (i) 5% of worldwide

   gross sales of all accessories (including shredders) “for as long as those existing and new products are

   sold”; and (ii) 25% of the gross profit from the worldwide sale of such products “for so long as those

   existing and new products are sold.” Richter Decl. Ex. 1, Am. Compl. (“AC”) ¶12 (emphasis added).

   Mr. Berrada also now alleged that Mr. Cohen made him “super-secret” promises and said that their

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   agreement must not be put in writing. Id. ¶13. Mr. Berrada claimed that this “contract” ran parallel to

   the July 2014 “contract,” entitling him to compensation under both contracts. See id. ¶17.

           Mr. Berrada’s Amended Complaint contains claims for: (i) fraud; (ii) breaches of contract and

   quasi-contract claims based on the failure of Defendants to pay him under both the 2013 “contract”

   and the 2014 “contract”; (iii) a violation of the New Jersey Wage Payment Act (the “NJ Wage Payment

   Act”) for failing to pay him “all of his unpaid wages when they were due”; (iv) violation of the FLSA

   for failure to pay overtime; (v) violation of New Jersey Wage & Hour Law (“NJ Wage Law”), for

   failure to pay overtime; and (vi) a violation of the New Jersey Sales Representatives’ Rights Act.

   III.    DEFENDANTS’ COUNTERCLAIMS
           Despite promising to increase sales by adding and expanding product lines because of his

   knowledge, expertise and relationships with suppliers and customers, unique knowledge of the supply

   chain, and contacts in Asia, the truth was far different and Mr. Berrada was unable accomplish anything

   of the sort. See SOF ¶¶70, 83-85, 146-60. While Mr. Berrada did expand the number of PowerPacks

   PNY offered, this decision ultimately proved fatal as he saddled PNY with large lots of excess

   inventory which, to date, is valued at                 . Id. ¶¶146-60. This comes not only at a direct cost

   (as PNY cannot move the product), but an indirect cost—PNY has lost a competitive edge and suffered

   a loss of goodwill. Id. On these grounds, Defendants have brought counterclaims for (i) breach of

   contract; (ii) breach of the implied covenant of good faith and fair dealing; (iii) promissory estoppel;

   (iv) unjust enrichment; and (v) fraudulent and negligent misrepresentation.

           During discovery, Defendants learned several new (and disturbing) facts. Specifically, as his

   time with PNY ended, Mr. Berrada copied and downloaded all of his PNY emails (and attachments,

   totaling nearly 19,000 combined). SOF ¶¶164-71. He kept a USB drive containing confidential PNY

   information and only provided it to his counsel once litigation began nearly a year later. PNY operates

   in an extremely competitive industry and takes great pains to keep its business information confidential.

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   All consultants and employees sign nondisclosure agreements, every PNY email contains disclaimers

   and warnings, and only certain employees can access PNY’s database of financial information. Mr.

   Berrada never obtained such access, and he signed two Confidentiality and Non-Disclosure

   Agreements (the “September NDA” and “November NDA,” respectively). Id. ¶¶29-32, 61-62, 66, 87.

             Mr. Berrada also sent confidential PNY information to his personal email account. Moreover,

   when the Consulting Agreement concluded, Mr. Berrada continued to access PNY servers. Id. ¶¶161-

   75. For these reasons, Defendants have also asserted counterclaims for (i) a violation of the New Jersey

   Trade Secrets Act (“NJTSA”); (ii) a violation of the Computer Fraud & Abuse Act (“CFAA”); (iii) a

   violation of the New Jersey Computer Related Offenses Act (“NJCROA”); (iv) breach of the

   November NDA; and (v) conversion.

   IV.       MR. BERRADA DESTROYS AND/OR DISPOSES OF KEY EVIDENCE
             In November 2016, PNY served discovery requests seeking images and forensic analyses of

   any laptops and mobile devices Mr. Berrada used to conduct PNY business. Mr. Berrada responded to

   these requests, simply stating: “None.” It turns out, however, that Mr. Berrada disposed of and/or

   destroyed his personal laptop and mobile device in late November 2016 (or sometime thereafter).

   Moreover, Mr. Berrada was issued a PNY laptop for business purposes, yet PNY never received it

   back from him. For these reasons, Defendants have been unable to determine the scope of damage Mr.

   Berrada caused to their computer systems and business goodwill, and/or if Mr. Berrada has used this

   confidential information to his personal advantage or shared it with any third-parties. SOF ¶¶178-84.4

                                          STANDARD OF REVIEW
             Summary judgment should be granted “if the movant shows that there is no genuine dispute as

   to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

   “[The mere existence of some alleged factual dispute . . . will not defeat an otherwise properly

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       Defendants thus reserve the right to seek leave to file a motion for an adverse inference.
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   supported motion for summary judgment; the requirement is that there be no genuine issue of material

   fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). If the moving party establishes

   that the evidentiary record “would be insufficient to permit the nonmoving party to carry its burden of

   proof,” then summary judgment is appropriate. 44A Trump Int’l, Inc. v. IncNetworks Inc., No. 12-CV-

   2292, 2014 WL 495145, at *2 (D.N.J. Feb. 6, 2014) (citing Celotex Corp. v. Catrett, 477 U.S. 317,

   322-23 (1986)). After the moving party shows there is no genuine dispute, the nonmoving party has

   the burden of “set[ting] forth specific facts showing a genuine issue for trial[.]” Id. The nonmovant

   “must do more than simply show that there is some metaphysical doubt as to material facts,”

   Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986), and may not rely on

   “bare assertions, conclusory allegations or suspicions to show the existence of a genuine issue.”

   Podobnik v. U.S. Postal Serv., 409 F.3d 584, 594 (3d Cir. 2005) (internal quotation marks omitted).

                                           LEGAL ARGUMENT
   I.      JUDGMENT SHOULD BE ENTERED IN FAVOR OF DEFENDANTS ON ALL OF
           MR. BERRADA’S CLAIMS.
           A.      The Consulting Agreement Was The Sole Operative Contract Between PNY And
                   Mr. Berrada, And PNY Never Breached It.
           The undisputed evidence establishes that there was one operative agreement between PNY and

   Mr. Berrada: the Consulting Agreement. PNY was obligated to compensate Mr. Berrada $15,000 a

   month and reimburse business expenses upon his submission of invoices, which it did. SOF ¶¶37-38,

   112-24. In fact, upon submitting his final invoice for services, Mr. Berrada explicitly acknowledged

   this, signing that he was “paid in full.” Id. ¶¶119-22.

           Without any evidence of a breach of a term of the contract that existed between them, Mr.

   Berrada’s claim for breach fails. See, e.g., Frederico v. Home Depot, 507 F.3d 188, 203 (3d Cir. 2007).

   Thus, judgment should be entered in favor of Defendants on Count II, as well as Counts III-VII.

                   i.      The alleged “2013 Contract” does not create a viable factual dispute.
           Despite the overwhelming evidence establishing PNY’s obligations under the Consulting

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   Agreement and its satisfaction thereof, Mr. Berrada has alleged and continues to assert that there were

   other “super-secret” terms which were breached. There is no evidence that such terms ever existed—

   other than Mr. Berrada’s self-serving (and ever-changing) testimony and allegations.

          Where, like here, there is no evidence to support self-serving testimony, summary judgment is

   not precluded. E.g., Irving v. Chester Water Auth., 439 F. App’x 125, 127 (3d Cir. 2011) (“self-serving

   deposition testimony is insufficient to raise a genuine issue of material fact”); Houston v. Dialysis

   Clinic, Inc., No. CIV.A. 13-4461 FLW, 2015 WL 3935104, at *14 (D.N.J. June 26, 2015) (same); see

   also Gonzalez v. Sec’y of Dep’t of Homeland Sec., 678 F.3d 254, 263 (3d Cir. 2012).

          Here, there is no documentary evidence to allow for even an inference that Mr. Berrada was

   entitled to any percentage of sales or profits. There are no documents referring to Mr. Berrada’s

   entitlement to or payment of commissions, nor any documents setting up such a payment structure.

   Most significantly, there is not a single document in which Mr. Berrada complained to PNY about not

   being fully paid. This is in stark contrast to Mr. Berrada’s immediate complaints when he did not

   receive a check from PNY for his expenses. See SOF ¶124. Likewise, there is not a single witness who

   has corroborated Mr. Berrada’s claims. See Soto v. Trella, No. CIV.A. 03-1098 (SDW), 2007 WL

   4355463, at *2 (D.N.J. Dec. 10, 2007) (Wigenton, J.) (self-serving testimony insufficient)

          The overwhelming evidence establishes that no such terms existed. Mr. Berrada submitted

   invoices for his services in which he sought (and received) what he was entitled to: $15,000 a month—

   which he acknowledged on his final invoice. See Richter Decl. Exs. 22, 52. Here, when the record is

   in stark contrast to Mr. Berrada’s self-serving testimony, a rational trier of fact could not credit his

   testimony. Bryant v. Wasik, No. CV 13-02818-SDW-SCM, 2017 WL 1241422, at *4 (D.N.J. Apr. 3,

   2017) (Wigenton, J.) (entering judgment in part due to failure “to identify evidence, other than his own

   self-serving statements” to prove claim).



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                    ii.    Because PNY and Mr. Berrada never entered into an employment
                           contract, his breach of contract claim in Count IV fails.
            Mr. Berrada cannot succeed on his contract and quasi-contract claims premised on the so-called

   “2014 contract” because he cannot establish that there was a contract entered into in 2014. The

   undisputed evidence instead establishes that, while PNY negotiated a potential contract with Mr.

   Berrada—and, indeed, made numerous offers to Mr. Berrada—no valid contract was ever

   consummated. For these reasons, judgment should be entered in favor of Defendants on Count IV.

            Both sides agree that PNY extended to Mr. Berrada a formal offer of employment dated July

   16, 2014. Mr. Berrada never accepted this offer. Instead, Mr. Berrada expressed his disagreement with

   certain terms and the parties continued to negotiate for weeks after July 16 (which included subsequent

   draft offer letters being provided, and multiple meetings between Mr. Berrada and Mr. Ciano, with one

   occurring as late as October). Indeed, Mr. Berrada submitted invoices in accordance with the

   Consulting Agreement for the services he provided during this very time. SOF ¶¶88-109.

            Mr. Berrada’s reliance on “Exhibit A” to his Complaint cannot create a material issue of fact.

   Supra at 9. Not one person at PNY ever saw the July 16 Offer countersigned, or marked up, by Mr.

   Berrada. SOF ¶96. “When opposing parties tell two different stories, one of which is blatantly

   contradicted by the record, so that no reasonable jury could believe it, a court should not adopt that

   version of facts for the purposes of ruling on a motion for summary judgment.” Scott v. Harris, 550

   U.S. 372, 380 (2007).

            Moreover, assuming, arguendo, that Mr. Berrada timely signed the July 2014 Offer, it still

   would not constitute a valid contract. It lacked the referenced “customer list” (which only shows up in

   later versions), the “commission plan” that required Mr. Cohen’s signature, see Richter Decl. Exs. 47,

   49, 50, and Mr. Berrada crossed out key terms which were never countersigned by PNY.5 See, e.g.,


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       Obviously, Mr. Berrada needed to cross out terms in his “2014 contract” because they expressly
                                                     10
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   Berberian v. Lynn, 355 N.J. Super. 210, 216-17 (App. Div. 2002), aff’d as modified, 179 N.J. 290

   (2004). Thus, even if Mr. Berrada had signed the July 2016 Offer, it would still not form the basis of

   a valid contract. Judgment should be entered in PNY’s favor on Count IV.

                  iii.    The Consulting Agreement dooms Mr. Berrada’s quasi-contract claims.
          Mr. Berrada asserted a number of quasi-contract claims premised on a purported breach of his

   “contracts” with PNY. See Counts III (unjust enrichment), V (promissory estoppel), VI (unjust

   enrichment), VII (quantum meruit). “Quasi-contract liability will not be imposed . . . if an express

   contract exists concerning the identical subject matter. The parties are bound by their agreement, and

   there is no ground for implying a promise as long as a valid unrescinded contract governs the rights of

   the parties.” Suburban Transfer Serv., Inc. v. Beech Holdings, Inc., 716 F.2d 220, 226-27 (3d Cir.

   1983) (quoting Borough of West Caldwell v. Borough of Caldwell, 26 N.J. 9, 29 (1958)).

          Here, there was an actual contract—the Consulting Agreement (or, in Mr. Berrada’s view, the

   Consulting Agreement and the “2014 contract,” see AC ¶¶12, 17)—that governed the entire

   relationship between the parties. Thus, these claims should be dismissed on that basis alone. Kinney

   Bldg. Assocs., L.L.C. v. 7-Eleven, Inc., No. 2:15-CV-7917-SDW-LDW, 2016 WL 2855063, at *5

   (D.N.J. May 16, 2016) (Wigenton, J.) (unjust enrichment and promissory estoppel claims “cannot be

   maintained where a valid contract fully defines the parties’ respective rights and obligations”); Avatar

   Bus. Connection, Inc. v. Uni-Marts, Inc., No. CIV A. 04-1866 (JBS), 2006 WL 1843136, at *6 (D.N.J.

   June 30, 2006) (claims for quantum meruit do not apply if there is a contract between the parties).

          Alternatively, the undisputed evidence establishes that Mr. Berrada’s quasi-contract claims

   could not otherwise stand. Unjust enrichment requires establishing “that the retention of the benefit

   [from the plaintiff] by the defendant is inequitable,” requiring proof that “the failure of remuneration



   destroy the basis for his claims. Regardless, Mr. Berrada had already signed the employment
   application. Compare SOF ¶92 to AC at Ex. A.
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   enriched defendant beyond its contractual rights.” Hassler v. Sovereign Bank, 644 F. Supp. 2d 509,

   519 (D.N.J. 2009), aff’d, 374 F. App’x 341 (3d Cir. 2010). “[Q]uantum meruit enables a party to

   recover the reasonable value of services rendered in the absence of a contract governing wages or

   remuneration.” Marimar Textiles, Inc. v. Jude Clothing & Accessories Corp., No. CV 17-2900 (JLL),

   2017 WL 4391748, at *4 (D.N.J. Oct. 2, 2017). Promissory estoppel is intended “to avoid the

   substantial hardship or injustice which would result if such a promise was not enforced.” Pop’s Cones,

   Inc. v. Resorts Int’l Hotel, Inc., 307 N.J. Super. 461, 469 (App. Div. 1998). Here, Mr. Berrada was

   fully compensated under the terms of the Consulting Agreement (acknowledging such on his final

   invoice). He can show no injustice, or inequitableness, or that PNY was somehow enriched beyond its

   contractual rights. Thus, judgment should be entered in Defendants’ favor for this alternative reason.

                   iv.     Mr. Cohen never negotiated or entered into a contract with Mr. Berrada
                           in his individual capacity—and Mr. Berrada’s claims are barred.
           Mr. Berrada claims that Mr. Cohen offered to personally pay him the alleged “secret”

   commission terms of the Consulting Agreement should PNY fail to do so. Such an assertion is not only

   unsupported by the facts or general corporate law, but is undisputedly barred by the Statute of Frauds.

           First, the Consulting Agreement was between PNY and Mr. Berrada only. It is black letter law

   that representing PNY in connection with entering into, and negotiating the terms of, the Consulting

   Agreement cannot create liability for Mr. Cohen. See Irwin Katz & Assocs., Inc. v. Concepts in Health,

   Inc., No. 3:13-CV-1217 FLW, 2014 WL 6471486, at *14 (D.N.J. Nov. 19, 2014). “[T]he mere fact

   that an individual executed a contract for the purpose of binding a corporation does not also render that

   individual liable.” Id. While there is an exception to this general rule where “there is clear and explicit

   evidence of the agent’s intention to substitute or superadd his personal liability for, or to, that of his

   principal,” id. at *14, no such evidence exists here. Mr. Berrada’s claim of a “secret” deal is not only

   absurd, but has zero evidentiary support.


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           Regardless, the Statute of Frauds bars claims of oral guaranties to pay the obligations of

   another. “Under New Jersey law, a guaranty is not enforceable unless it is in writing.” Sapta Glob.,

   Inc. v. Cilicorp, LLC, No. CIV. 13-3698 KM MAH, 2015 WL 1469600, at *5 (D.N.J. Mar. 30, 2015).

   Specifically, New Jersey’s Statute of Frauds provides: “A promise to be liable for the obligation of

   another person, in order to be enforceable, shall be in a writing signed by the person assuming the

   liability or by that person’s agent.” N.J.S.A. §25:1–15. Here, Mr. Berrada has specifically alleged that

   there is no writing that exists to show this alleged guaranty by Mr. Cohen. See AC ¶14.6 For these

   reasons, judgment should be entered in favor of Mr. Cohen on Counts I-V, VII.

           B.      Mr. Berrada’s Fraud Claim In Count I Is Unsupported By The Facts And Law.
           Mr. Berrada has brought a claim for fraud, in which he asserts Defendants somehow

   fraudulently induced him to consult for PNY during a period when he had been unemployed for

   months. This claim is meritless. In order to succeed, Mr. Berrada—who has the burden of “coming

   forward with evidence which could lead a jury to find clear and convincing proof of fraud,” Alexander

   v. CIGNA Corp., 991 F. Supp. 427, 435 (D.N.J.), aff’d, 172 F.3d 859 (3d Cir. 1998) (emphasis

   added)—must establish: (1) a material misrepresentation of a presently existing or past fact; (2)

   knowledge of falsity; (3) an intention that the other person rely on it; (4) reasonable reliance thereon;

   and (5) damages. Banco Popular N. Am. v. Gandi, 184 N.J. 161, 172-73 (2005). He cannot do so.

                   i.      PNY did not make a single misrepresentation to induce Mr. Berrada to
                           enter into the Consulting Agreement.
           A viable fraudulent inducement claim requires not only that there be a misrepresentation made

   to induce a plaintiff into a contract, but that such misrepresentation be knowing or intentional. Here,

   each of the purported “misrepresentations” that Mr. Berrada has asserted have no basis in the evidence,



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    While there is a “limited exception to this rule,” it only applies if there is evidence that Mr. Cohen
   made the guaranty to further his own personal interests. See Sapta Glob., 2015 WL 1469600, at *5.
   There is no evidence (or claim) that Mr. Cohen did such a thing.
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   and cannot form the basis of a viable fraud claim as a matter of law.

          First, “[s]tatements as to future or contingent events, to expectations or probabilities, or as to

   what will or will not be done in the future, do not constitute misrepresentations, even though they may

   turn out to be wrong.” Alexander, 991 F. Supp. at 435; see also Luscko v. S. Container Corp., 408 F.

   App’x 631, 634 (3d Cir. 2010) (a fraud claim “cannot be predicated upon representations which involve

   things to be done in the future”). Likewise, “statements that can be categorized as ‘puffery’ or ‘vague

   and ill-defined opinions’ are not assurances of fact and thus do not constitute misrepresentations.”

   Alexander, 991 F. Supp. at 435. Such well-established law is fatal to Mr. Berrada’s claim, as he relies

   on claims that Defendants told him he would “make more money working for Cohen and PNY,” that

   his “employment constituted a long term commitment,” and that PNY “intended” to do or buy certain

   things. AC ¶21. None of these are “assurances of fact,” but are the very type of “predictions of future

   events” that “cannot serve the basis for a fraud claim just because they subsequently turned out not to

   be true.” Alexander, 991 F. Supp. at 435 (claims that the “relationship would be long lasting,” or “one

   in ‘perpetuity’,’” could not form the basis for a fraud claim); see also VT Inv’rs v. R & D Funding

   Corp., 733 F. Supp. 823, 838 (D.N.J. 1990) (claim that plaintiffs would “‘realize a positive cash flow

   in excess of $60,000 per month’ can only be characterized as ‘puffery’”).

          Second, Mr. Berrada “must prove that Defendant[s] knew that the representations were false—

   that [they] had no intention of performing [their] obligations—at the time the obligations were made.”

   Wenzel v. Nautilus Ins. Co., No. CIV.A 10-6270 SRC, 2011 WL 1466323, at *5 (D.N.J. Apr. 18, 2011),

   aff’d, 474 F. App’x 862 (3d Cir. 2012). The “mere fact of nonperformance” cannot establish the

   requisite intent for purposes of fraud. See id.; see also Billings v. Am. Exp. Co., No. CIV.A. 10-3487,

   2011 WL 5599648, at *11 (D.N.J. Nov. 16, 2011) (“A failure to fulfill a promise may constitute a

   breach of contract, but it is not fraud and the nonperformance of that promise does not make it so.”).



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   To be sure, there is no evidence that Defendants made any of the assertions which Mr. Berrada relies

   on, nor could any of these assertions qualify as anything other than predictions or puffery if there was.

           Assuming, however, that the representations could somehow create an obligation for PNY to

   perform in the future, Mr. Berrada cannot show the requisite intent on Defendants’ part. After all, Mr.

   Berrada has conceded that he “would not establish a residence in New Jersey.” SOF ¶43. Nor can there

   be a dispute that Defendants never intended to keep Mr. Berrada on “long-term”—they extended him

   an offer of employment months into his consulting relationship. Id. ¶¶88-95. Finally, Mr. Berrada was

   engaged to start a shredder product line, which PNY obviously wanted to succeed. PNY’s ultimate

   decision not to pursue the line does not show that it did not intend to start the line when it entered into

   the Consulting Agreement. Id. ¶¶26-28, 33-38, 67-68, 75; see Billings, 2011 WL 5599648, at *11

   (“AMEX’s subsequent decision not to maintain the Credit Line Account does not alone show that it

   did not intend to maintain the Account at the time it collected the fee.”). Overall, where, like here,

   “[t]here is not a shred of proposed proof of the existence of a wrongful intent on the part of” Defendants

   before the Consulting Agreement was entered into, Mr. Berrada’s claim for fraudulent inducement

   must fail. Ocean Cape Hotel Corp. v. Masefield Corp., 63 N.J. Super. 369, 382 (App. Div. 1960).

           Third, those few representations that do not qualify as puffery or future predictions are barred

   by the economic loss doctrine, which “prohibits plaintiffs from recovering in tort economic losses to

   which their entitlement only flows from contract.” RNC Sys., Inc. v. Modern Tech. Grp., Inc., 861 F.

   Supp. 2d 436, 451 (D.N.J. 2012). If (like here) the “alleged misrepresentations are directly related to

   [the defendant’s] performance under the [contract] and form the basis of [the plaintiff’s] breach of

   contract claim,” a fraudulent inducement claim is barred. See id.; Bracco Diagnostics, Inc. v. Bergen

   Brunswig Drug Co., 226 F. Supp. 2d 557, 562 (D.N.J. 2002). Mr. Berrada asserts that Defendants

   would provide him with resources to help “sell the shredder product line which [he] would bring to



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   PNY,” and that PNY would compensate him with a percentage of sales and profits. AC ¶21; compare

   id. ¶¶30, 31. Such claims are “intrinsic to [Defendants’] performance under the contract and have the

   same measure of damages as [Mr. Berrada’s] breach of contract claim,” RNC Sys., 861 F. Supp. at 453,

   and are thus barred. Consequently, judgment should be entered in Defendants’ favor on Count I.

                   ii.     Mr. Berrada has not been injured as a result of the purported fraud.
           A claim for fraud requires proof of reliance and resulting damage. See Banco Popular N. Am.,

   184 N.J. at 172-73. Here, Mr. Berrada claims that he entered into the Consulting Agreement as a result

   of purported representations relating to: (i) the potential longevity of their relationship, (ii) potential

   “perks” of employment; (iii) the type of infrastructure that would be given to him for shredders, and

   (iv) the amount of money he could or would make. See AC ¶21. There is, however, no evidence that

   Mr. Berrada relied on any of these purported “misrepresentations” in entering the Consulting

   Agreement. Mr. Berrada’s claim that he forewent other business opportunities is not only completely

   speculative,7 but undercut by Mr. Berrada’s actions. Once it became clear that a decision was made

   not to proceed with the shredder line, Mr. Berrada did not simply get up and leave PNY; instead, he

   chose to remain at PNY for nearly a year. See SOF ¶¶76-109. In short, there is no evidence that Mr.

   Berrada would not have joined or stayed at PNY as long as he did if PNY had not made these

   representations to him, or, indeed, would have done anything differently, thus dooming his claim.

           Not only that, but Mr. Berrada’s request for damages is identical to what he claims he would

   have been paid under the terms of the alleged oral contract. Even more significant is that Mr. Berrada

   has failed to offer any evidence of a specific injury flowing from his reliance on Defendants’ purported


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     Despite allegations that he had an opportunity to “become a principal in a new business,” there is no
   evidence that such “new business” existed. The “business” had no name, was never incorporated, no
   legal or formal terms were agreed to between any hypothetical “partners,” and (most significantly)
   there were no customers or sales. See SOF ¶¶17-23. Notably, New Jersey follows the “New Business
   Rule,” which bars prospective profits from a new business or venture as “too remote, contingent and
   speculative.” See Bell Atl. Network Servs., Inc. v. P.M. Video Corp., 322 N.J. Super. 74, 98-101 (App.
   Div. 1999).
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   misrepresentations. Even if PNY never intended to go forward with a shredder product line, Mr.

   Berrada has offered no evidence to establish how that damaged him. See, e.g., Kurtz v. Oremland, 33

   N.J. Super. 443, 453 (Ch. Div.), aff'd, 16 N.J. 454 (1954). It is not enough to simply speculate that

   shredders would have earned PNY (and thus himself) some sort of profit; Mr. Berrada has the burden

   of proving it. See id.; Bell Atl. Network Servs., 322 N.J. Super. at 101. He did not and cannot do so.

                   iii.    Mr. Berrada is not entitled to punitive damages.
           Punitive damages cannot be awarded for a claim for fraud “without some additional

   aggravating element,” Lo Bosco v. Kure Eng’g Ltd., 891 F. Supp. 1020, 1034 (D.N.J. 1995), such as

   an “evil-minded act” or conduct that is “willful and wantonly reckless or malicious.” Boyes v.

   Greenwich Boat Works, Inc., 27 F. Supp. 2d 543, 549 (D.N.J. 1998). Because there is no evidence to

   support any such finding, Mr. Berrada’s baseless request for punitive damages should be stricken.

           C.      Because Mr. Berrada Was A Consultant At PNY, His Statutory Labor Claims
                   Should Be Dismissed And Judgment Entered In Favor Of Defendants.
                   i.      Mr. Berrrada is judicially estopped from asserting he was an employee.
           For years, Mr. Berrada represented—under oath—that he was unemployed and had no income.

   See SOF ¶¶189-200. Here, Mr. Berrada has taken the exact opposition position, in an attempt to line

   his own pockets while seeking to minimize his child support payments. The disgusting (and criminal)

   nature of this aside, such clear intent to play “fast and loose” with the judiciary should be rejected.

           The doctrine of judicial estoppel operates to prevent “a party from arguing contradictory factual

   positions in different courts.” Shell Oil Co. v. Trailer & Truck Repair Co., Inc., 828 F.2d 205, 209 (3d

   Cir. 1987). It is intended for those who “act with the intent to play fast and loose with the courts.” Ryan

   Operations G.P. v. Santiam-Midwest Lumber Co., 81 F.3d 355, 361 (3d Cir. 1996). Three factors are

   generally considered “when making a determination regarding the application of the judicial estoppel

   doctrine.” Brauser Real Estate, LLC v. Meecorp Capital Markets, LLC, No. 06-CV-01816 SDW, 2012

   WL 1079540, at *5 (D.N.J. Mar. 30, 2012) (Wigenton, J.). These are: (i) “the party in question must

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   have adopted irreconcilably inconsistent positions;” (ii) “the party must have adopted these positions

   in ‘bad faith’”; and (iii) “there must be a showing that judicial estoppel is tailored to address the harm

   and that no lesser sanction would be sufficient.” Id. These factors have undoubtedly been met.

           First, Mr. Berrada has taken inconsistent positions. From July 2013 through March 2015, Mr.

   Berrada has averred and testified under oath to being unemployed and having no income. See SOF

   ¶¶189-200. Here, Mr. Berrada claims the exact opposite: that he became employed by PNY in or

   around September 2013 and was promoted in July 2014. See AC ¶¶15, 17, 22, 63, 67, 77, 83.

           Second, Mr. Berrada has adopted these positions in bad faith. Mr. Berrada submitted affidavits

   and briefs representing that he was not only unemployed, but had no income whatsoever. It is only

   now, when “it is greatly to his benefit to alter that position,” that he premises a number of his claims

   on being employed by PNY and/or not receiving all he was entitled from PNY. Brauser Real Estate,

   2012 WL 1079540, at *7. This “shifting of positions in order to serve disparate economic positions

   epitomizes the ‘fast and loose’ conduct that the courts will not tolerate.” Levin v. Robinson, Wayne &

   La Sala, 246 N.J. Super. 167, 181 (Law. Div. 1990) (sworn statements and briefs submitted to

   matrimonial court in connection with plaintiff’s divorce proceeding judicially estopped him from

   arguing exact contrary position in subsequent action ).8

           Finally, judicial estoppel would “address the harm and . . . no lesser sanction would be

   sufficient.” Brauser Real Estate, 2012 WL 1079540, at *7. Mr. Berrada has admitted to testifying,

   under oath, that he was unemployed, his “income is zero,” and he is “looking for a new job but [does]




   8
     While Levin has been overruled in part, it relates only to its claim that “prior success” is not a
   prerequisite of judicial estoppel—an issue that does not apply here, since Mr. Berrada did, in fact,
   successfully assert that he was not receiving any income and was unemployed during the relevant time
   period. Moreover, the Levin court noted that cases following matrimonial actions are particularly likely
   to have estoppel issues. See Levin, 246 N.J. Super. at 181 (“The cases are legion in which a party was
   judicially estopped to advance a different litigation position from the position he took in his prior
   divorce action.”).
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   not have any prospects” (points he continued to repeat thereafter). See Richter Decl. Exs. 73, 74; SOF

   ¶¶189-200. He now seeks to have this Court reward him not only damages, but liquidated damages,

   on the basis that he was an employee of PNY during that same time. Mr. Berrada thus would reap the

   benefit of any recovery and, in so doing, damage the integrity of the judicial process. And, of course,

   such recovery would also come at the expense of his former spouse and their children. See Levin, 246

   N.J. Super. at 184 (“Failure to apply the doctrine would reward Levin at the expense of his ex-wife and

   destroy the integrity of the courts and judicial process.”). In short, estopping Mr. Berrada from claiming

   he was an employee of PNY—and entering judgment in PNY’s favor on any claims premised on such

   allegation—is “required to preserve the integrity of the earlier proceedings.” Krystal Cadillac-

   Oldsmobile GMC Truck, Inc. v. Gen. Motors Corp., 337 F.3d 314, 325 (3d Cir. 2003).

           Accordingly, this Court should find that Mr. Berrada is estopped from asserting (i) that he was

   employed by PNY; and (ii) that he has a right to any other income from PNY. Consequently, while

   Defendants firmly believe that Mr. Berrada’s conduct in this regard warrants dismissal of all claims on

   this basis, at the least, those claims expressly premised on Mr. Berrada being an employee of PNY

   (Counts VIII, IX, X, and XI) should be dismissed and judgment entered in PNY’s favor.

                   ii.     Mr. Berrada is not covered by the FLSA or New Jersey labor laws.
           Should the Court find that Mr. Berrada can assert that he was an employee of PNY for purposes

   of this action, he is still not entitled to recover under the FLSA, NJ Wage Payment Act, or NJ Wage

   Act as he was never an “employee” for purposes of those statutes. In fact, Mr. Berrada has conceded

   this point. See SOF ¶56. This Court should find so as well and enter judgment in Defendants’ favor.

                           a.      Mr. Berrada does not qualify as an “employee” under the FLSA.
           When determining if a worker is an “employee” for purposes of the FLSA, courts consider the

   following factors:

         1) the degree of the alleged employer’s right to control the manner in which the work is to
         be performed; 2) the alleged employee’s opportunity for profit or loss depending upon his

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          managerial skill; 3) the alleged employee’s investment in equipment or materials required
          for his task, or his employment of helpers; 4) whether the service rendered requires a special
          skill; 5) the degree of permanence of the working relationship; 6) whether the service
          rendered is an integral part of the alleged employer’s business.

   Donovan v. DialAmerica Mktg., Inc., 757 F.2d 1376, 1386 (3d Cir. 1985). These factors, however, are

   not to be determinative; instead, “courts should examine the circumstances of the whole activity, and

   should consider whether, as a matter of economic reality, the individuals are dependent upon the

   business to which they render service.” Donovan, 757 F.2d at 1382.

            Here, the undisputed facts establish that Mr. Berrada was, at all times, an independent

   contractor. Mr. Berrada: (1) did not have set hours; (2) controlled his own time allocation; (3) was not

   supervised on a daily basis; (4) worked remotely from his home in Florida traveling to PNY’s

   headquarters only on limited occasions; and (5) had autonomy to engage suppliers. See SOF ¶¶39-47,

   146-47. Mr. Berrada was likewise engaged as a consultant because of his purported “special skills” in

   the world of accessories—specifically, Mr. Berrada claimed to have a special skill set in both

   managing, sourcing, and marketing accessories, and to have a unique and extensive network of contacts

   that would assist PNY. See, e.g., AC ¶6; see also SOF ¶¶6, 26-27, 33-36.

            Finally, Mr. Berrada was not brought in as a permanent employee or to assist with PNY’s core

   business. Rather, the indisputable facts firmly establish his status as a consultant. Mr. Berrada: (1)

   never signed a restrictive covenant preventing his mobility or employability; (2) did not view his

   services to be exclusive to PNY; (3) was engaged on a month-to-month basis; (4) was engaged solely

   to launch new products (and not to expand PNY’s core business); (5) was never placed on PNY’s

   payroll; (6) received 1099s; and (7) did not receive employment benefits from PNY. See SOF ¶¶33-

   58, 192.

            Finally, it is clear that the parties themselves intended Mr. Berrada to be a consultant.9 The


   9
       Indeed, the only testimony that could even plausibly support Mr. Berrada’s claim that he was
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   November NDA signed by Mr. Berrada stipulates that he is providing “consulting services to represent

   PNY[.]” Id. ¶66. Indeed, Mr. Berrada even referred to himself during this time as a consultant. Id. ¶¶52,

   69. It was only in July 2014 that PNY offered Mr. Berrada the opportunity to become an employee.

   See id. ¶¶88-94. In short, the plain facts of Mr. Berrada’s relationship with PNY make clear that he

   was a consultant, and not an employee. For these reasons, Mr. Berrada is not covered by the FLSA and

   judgment should be entered in Defendants’ favor on Count IX.

                           b.      Mr. Berrada is not covered by New Jersey’s wage statutes.
           The same result is warranted by the NJ Wage Payment Act and the NJ Wage Law. Under both

   statutes, courts look to the “ABC test.” See Hargrove v. Sleepy’s, LLC, 220 N.J. 289 (2015). The

   examination is whether:

       (A) Such individual has been and will continue to be free from control or direction over the
       performance of such service, both under his contract of service and in fact; and
       (B) Such service is either outside the usual course of the business for which such service is
       performed, or that such service is performed outside of all the places of business of the
       enterprise for which such service is performed; and
       (C) Such individual is customarily engaged in an independently established trade, occupation,
       profession or business.
   Philadelphia Newspapers, Inc. v. Bd. of Review, 397 N.J. Super. 309, 319 (App. Div. 2007).

           Under Prong A, “[s]ome factors indicative of control may include, but are not limited to,

   whether the worker is required to work any set hours or jobs, whether the enterprise has the right to

   control the details and the means by which the services are performed, and whether the services must

   be rendered personally.” Id. at 321 (internal quotation marks omitted). Here, as just discussed above,

   PNY did not control the performance of Mr. Berrada’s services.

           The evidence also establishes that Prong B, known as the “course-of-business or location-of-

   work test,” has been met. See ABS Grp. Servs., Inc. v. Bd. of Review, Dep’t of Labor, No. A-1847-



   employed by PNY is from Mr. Kam, who admitted that Mr. Berrada called and requested that he testify
   a certain way during his deposition regarding Mr. Berrada’s status. See SOF ¶110.
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   12T3, 2014 WL 2780339, at *2 (N.J. Super. Ct. App. Div. June 20, 2014). As described, Mr. Berrada’s

   services were not in connection with PNY’s core business; instead, he was to provide services in

   connection with sourcing and marketing new products and product lines. It is also undisputed that Mr.

   Berrada was to perform “a significant amount of work” from Florida. Richter Decl. Ex. 20 at ¶13.

          Finally, Prong C has also been met. “Prong (C) of the statute has been construed to mean that

   the ‘trade, occupation, profession or business’ of the [worker] ‘was established independently of the

   employer or the rendering of the personal service forming the basis of the claim.’” Philadelphia

   Newspapers, 397 N.J. Super. at 323. Mr. Berrada ran his own business for years, see SOF ¶11, and

   after his position at Office Depot was terminated, went back to consulting. See id. ¶¶16-17. Since the

   Consulting Agreement has ended, Mr. Berrada has been in discussions with industry participants, and

   has been providing consulting services to at least one since 2016. Id. ¶¶186-88. Thus, it is clear that

   Mr. Berrada’s consulting business “surviv[ed] the termination of [his] relationship” with PNY.

   Philadelphia Newspapers, 397 N.J. Super. at 323. Mr. Berrada’s relationship with PNY satisfies the

   ABC Test. Judgment should be entered in Defendants’ favor on Counts VIII and X.

                          c.      Alternatively, even if Mr. Berrada was an employee, he was fully
                                  compensated for his services by PNY.
          The NJ Wage Payment Act creates “a private right of action for an employee. . .to collect wages

   wrongfully withheld.” Ramirez v. Gromitsaris, No. CIV.A. 13-2371 JAP, 2013 WL 2455966, at *1

   (D.N.J. June 3, 2013); see Hargrove, 220 N.J. at 302-03 (citing N.J.S.A. §34:11–4.7). As described

   above, supra at 8, Mr. Berrada has been fully compensated for his services; thus no wages have been

   “wrongfully withheld.” Judgment should be entered in Defendants’ favor on Count VIII.

                          d.      Alternatively, even if Mr. Berrada was an employee, he is exempt from
                                  the FLSA and the NJ Wage Act.
          Finally, even assuming, arguendo, that Mr. Berrada was an employee of PNY, he would not

   qualify for protections under the FLSA or the NJ Wage Act. An individual who (like Mr. Berrada)


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   made more than $100,000 a year and “customarily and regularly perform[ed] any one or more of the

   exempt duties or responsibilities of an executive, administrative or professional employee,” is exempt

   from the FLSA and the NJ Wage Act as a “highly compensated employee.” See 29 C.F.R. §541.601(a);

   see also N.J.A.C. §§12:56–7.1, –7.2(a) (incorporating the provisions of 29 C.F.R. §541). It is

   undisputed that Mr. Berrada was entitled to be compensated at a rate of $15,000 per month, or $180,000

   a year. It is also undisputed that the services Mr. Berrada provided to PNY were those that qualify as

   the “exempt duties or responsibilities” of an executive or administrative professional.

          In relevant part, the FLSA defines an “executive employee” as one “[w]ho customarily and

   regularly directs the work of two or more other employees.” 29 C.F.R. §541.100(a)(3). Even if Mr.

   Berrada could somehow be considered an employee, it is undisputed that Mr. Berrada oversaw a team

   of four PNY employees. See SOF ¶79; AC ¶15. Alternatively, even if he were somehow deemed an

   employee, Mr. Berrada would qualify as “highly compensated” because his primary duties also match

   those of an “administrative employee.” An individual qualifies as such if their primary duties include

   “the performance of office or non-manual work directly related to the management or general business

   operations of the employer,” or “the exercise of discretion and independent judgment with respect to

   matters of significance.” 29 C.F.R. §541.200(2), (3). Similar to the above, Mr. Berrada has alleged and

   testified repeatedly in this case that his responsibilities matched both of these duties. Compare SOF

   ¶¶44-47, 66-74, 76-82, 146-47 and AC ¶15 to 29 C.F.R. §§541.201(b), 202(a), 203.

          Accordingly, assuming, arguendo, that Mr. Berrada was an employee of PNY, Mr. Berrada’s

   “salary” of $180,000 a year, coupled with the clear fact that he performed many of the duties required

   to qualify as either an administrative or executive employee, undisputedly establish that he is highly

   compensated and not entitled to protections under the FLSA or NJ Wage Act (Counts IX and X).

          D.      Mr. Berrada Was Never A Sales Representative For PNY.
          The NJ SRRA provides, in relevant part, that “the commissions and other compensation earned

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   as a result of the [sales] representative agreement and unpaid shall become due and payable within 30

   days” of “[w]hen a contract between a principal and a sales representative to solicit sales is

   terminated[.]” N.J.S.A. §2A:61A–2. This claim has no relevance here.

          After all, Mr. Berrada was never a sales representative of PNY, and he expressly rejected the

   opportunity to become one. See SOF ¶¶130-45. Nor did Mr. Berrada act as a “sales representative” for

   purposes of the NJ SRRA before the offer to become one was extended to him. A “sales representative”

   is defined as a “person, other than an employee, who contracts with a principal to solicit sales and who

   is compensated, in whole or in part, by commission[.]” N.J.S.A. §2A:61A–1(c). The undisputed facts

   establish, however, that Mr. Berrada never entered into a contract with PNY to “solicit sales.” See SOF

   ¶¶82, 86. Indeed, Mr. Berrada has never even alleged that his relationship with PNY was one in which

   he would be soliciting sales. See, e.g., AC ¶12. While Mr. Berrada worked with sales teams, he did not

   himself sell PNY’s products. See SOF ¶86. Additionally, at no point was Mr. Berrada entitled to

   commissions for sales he may have made, or otherwise; instead, Mr. Berrada was entitled to monthly

   compensation of $15,000—all of which he received and acknowledged.10 Thus, judgment should be

   entered on Defendants’ behalf on Count XI.11

   II.    JUDGMENT SHOULD BE ENTERED IN FAVOR OF DEFENDANTS ON THEIR
          COUNTERCLAIMS.
          A.      Mr. Berrada Breached The Consulting Agreement.
          The terms of the Consulting Agreement are simple: Mr. Berrada was supposed to source

   shredders, start and manage new product lines at PNY based upon his knowledge of the pertinent


   10
      Moreover, Mr. Berrada’s own allegations have failed to establish a right to “commissions.” A
   commission does not include “percentage-based compensation derived from profits.” Brownstone
   Specialty Fin., Inc. v. Freedom Mortg. Corp., No. CV 16-5412 (NLH/AMD), 2017 WL 2829607, at
   *4 (D.N.J. June 30, 2017). Mr. Berrada’s purported commissions are based on “worldwide gross sales”
   and “gross profit,” see AC ¶12, and thus are clearly not “dependent upon” his work performance.
   11
      Additionally, as this claim is clearly frivolous—Mr. Berrada is well aware he was not a sales
   representative and brought this claim regardless—Defendants are entitled to fees and costs. See
   N.J.S.A. §2A:61A–3.

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   supply chain and other expertise (thereby increasing sales), and bring in new customers. In return, PNY

   was to compensate Mr. Berrada $15,000 a month. PNY fulfilled their obligations under the Consulting

   Agreement and Mr. Berrada did not.

           First, Mr. Berrada did not take the promised steps to source shredders at PNY: Mr. Berrada

   only contacted a single factory (with which he already had a relationship). See SOF ¶70. Second, Mr.

   Berrada failed to produce a single material, new supplier to PNY. See id. ¶¶84-85. Third, Mr. Berrada

   did not bring a single material new customer to PNY. Id. Most blatantly, however, is Mr. Berrada’s

   failure to fulfill his obligations in managing the PowerPack initiative. Instead of increasing sales, Mr.

   Berrada’s mismanagement (namely, his decision to introduce so many new product lines at once)

   resulted in excess inventory that PNY cannot sell or distribute. See id. ¶¶146-60. This, of course, is

   separate and apart from those PowerPacks that PNY had to sell at a deep discount

                         See id. ¶158. Mr. Berrada’s breaches of his obligations under the Consulting

   Agreement are clear. For these reasons, judgment should be entered on Count I.

           B.      Alternatively, Judgment Is Appropriately Entered Under Theories Of
                   Promissory Estoppel Or Unjust Enrichment.
           If this Court finds that Mr. Berrada somehow did not breach the Consulting Agreement, the

   undisputed evidence establishes that judgment should still be entered on either Defendants’ promissory

   estoppel (Count III) or unjust enrichment claims (Count IV).

                   i.      Defendants suffered extensive damages in reliance on Mr. Berrada’s false
                           promises, and should recover under promissory estoppel in Count III.
           To recover under a theory of promissory estoppel, Defendants must establish: (i) a clear and

   definite promise by Mr. Berrada; (ii) that Mr. Berrada made the promise with the expectation that

   Defendants would rely on it; (iii) that Defendants did rely on the promise; and (iv) this reliance was to

   Defendants’ detriment. See Lobiondo v. O’Callaghan, 357 N.J. Super. 488, 499 (App. Div. 2003). The

   undisputed evidence clearly establishes each of these elements. Mr. Berrada promised that, based on


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   his expertise and credentials, he could increase sales by tens of millions of dollars and bring in new

   customers. Mr. Berrada was well-aware that Defendants would rely on his promises and, in fact, did

   so. PNY gave Mr. Berrada the responsibility to start new products and product lines at PNY, provided

   him with a team of PNY employees to assist him, and allowed him to use his judgment to identify the

   products that he—in his expertise—thought were best. SOF ¶¶46-47, 146-47. Mr. Berrada failed

   miserably. See id. ¶¶73-74, 156-60. Thus, judgment should be entered on Count III to allow Defendants

   to recoup the damages (represented by their sunken inventory costs) incurred in reliance on Mr.

   Berrada’s promises. Pop’s, 307 N.J. Super. at 473.

                  ii.     Mr. Berrada’s unjust enrichment is clear.
          Likewise, and alternatively, the evidence clearly establishes Defendants’ claim for unjust

   enrichment. Unjust enrichment requires proof that the counter-defendant “received a benefit and

   retention of that benefit without payment would be unjust,” and that a counterclaimant “expected

   remuneration from the [counter-defendant] at the time it performed or conferred a benefit on [counter-

   defendant] and the failure of remuneration enriched [counter-defendant] beyond its contractual rights.”

   Iliadis v. Wal–Mart Stores, Inc., 191 N.J. 88, 110 (2007). Here, Mr. Berrada submitted invoices and

   accepted compensation in the amount of $15,000 a month without fulfilling his obligations to bring in

   new customers or suppliers, or to increase sales. Despite accepting this compensation, Mr. Berrada did

   not perform, making it markedly unjust for him to retain his full compensation, particularly when his

   conduct has led to PNY suffering hundreds of thousands of dollars of damages. Mr. Berrada should

   not be so enriched, and judgment should be entered on Count IV.

          C.      Mr. Berrada’s Performance Under The Consulting Agreement Violated The
                  Implied Duty Of Good Faith And Fair Dealing and Judgment Should Be Entered
                  On Count II.
          “A covenant of good faith and fair dealing is implied in every contract in New Jersey.” Wilson

   v. Amerada Hess Corp., 168 N.J. 236, 244 (2001). A party may not “do anything which will have the


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   effect of destroying or injuring the right of the other party to receive the fruits of the contract.” Sons of

   Thunder, Inc. v. Borden, Inc., 148 N.J. 396, 420 (1997). While the implied covenant cannot override a

   contract’s express terms, “a party’s performance under a contract may breach that implied covenant

   even though that performance does not violate a pertinent express term.” Wilson, 168 N.J. at 244.

           The undisputed evidence clearly establishes that Mr. Berrada, at all times, acted in bad faith in

   purporting to fulfill his contractual obligations. Defendants expected Mr. Berrada to bring in new

   products, new suppliers, and new customers based on his specific representations. The exact opposite

   proved to be true. For example, while Mr. Berrada promised that he could bring shredders to PNY to

   huge profits, see SOF ¶¶34-35, 64-65, Mr. Berrada’s only attempt to start a shredder line was to meet

   with a single supplier with whom he already had a relationship. See id. ¶¶67-74. Moreover, Mr. Berrada

   made not a single good faith effort to contact or bring into PNY new material suppliers or customers

   for shredders or any other product lines. Id. ¶¶83-86. Not only that, but Mr. Berrada ostracized and

   alienated a number of PNY employees. Id. ¶¶125-28. Such conduct clearly destroyed Defendants’

   reasonable expectations and right to receive the fruits of the Consulting Agreement.

           D.      Mr. Berrada’s Fraudulent Misrepresentations Induced Defendants To Enter Into
                   The Consulting Agreement.
           In New Jersey, fraudulent misrepresentation and fraudulent inducement require identical

   elements: “(1) a material misrepresentation of a presently existing or past fact; (2) knowledge or belief

   by the defendant of its falsity; (3) an intention that the other person rely on it; (4) reasonable reliance

   thereon by the other person; and (5) resulting damages.” Prudential Ins. Co. of Am. v. Goldman, Sachs

   & Co., No. CIV.A. 12-6590 SDW, 2013 WL 1431680, at *7 (D.N.J. Apr. 9, 2013); Mason v. Coca-

   Cola Co., 774 F. Supp. 2d 699, 704 (D.N.J. 2011).

           The scope and extent of the number of misrepresentations that Mr. Berrada made to Defendants

   in order to induce them to enter into the Consulting Agreement are vast and undisputable, warranting


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   judgment in PNY’s favor on Count V. Even in this litigation, Mr. Berrada has continued to paint

   himself as having “years of specialized experience and expertise at high levels,” an “extensive network

   of contacts and connections,” and worked for “major employers.” AC ¶¶5, 6. All of this proved to be

   gravely misrepresented and some outright false. As just some examples, Mr. Berrada:

              Failed to inform PNY that his positions at the prior “major employers” were
               “eliminated” and never informed PNY of the potentially troubling reasons why;
              Introduced only a single shredder supplier to PNY and failed to inform PNY that he
               did not even have direct contact with this supplier, but instead relied on a third-party;
              Failed to directly produce any material, new suppliers or customers to PNY; and
              Failed to deliver promised sales of $2.5 million and $10 million through the
               introduction of new products and product lines based on his extensive contact list (but
               instead saddled PNY with inventory valued at                             ).

   See SOF ¶¶7, 9, 16, 25, 64-65, 70, 83-85, 91, 160. Put simply, PNY would not have engaged someone

   who was forced to leave his last three jobs and lacked any direct lines of communication with any new

   suppliers or customers. Mr. Berrada—unemployed for months with no real prospects of income—

   obviously intended for Defendants to rely on his representations. This reliance was indeed to

   Defendants’ detriment; not only were Defendants induced into paying Mr. Berrada $15,000 a month

   plus expenses, but they have                                         of inventory costs as damages and a

   nearly immeasurable amount of lost business opportunity costs and loss of goodwill. SOF ¶¶156-60.

             It is also clear that punitive damages should be awarded here. Mr. Berrada acted wantonly and

   willfully in hiding his true level of experience from PNY. He promised them an expertise that would

   deliver great sales, knowing that was false and that his misrepresented experience would damage

   Defendants. See, e.g., Gennari v. Weichert Co. Realtors, 288 N.J. Super. 504, 552-53 (App. Div. 1996).

             E.      Mr. Berrada’s Negligent Misrepresentations Have Damaged Defendants.
             To state a claim for negligent misrepresentation, “a [counterclaimant] must prove that the

   [counter-defendant] negligently made an incorrect statement, upon which the [counterclaimant]

   justifiably relied.” Peruto v. TimberTech Ltd., 126 F. Supp. 3d 447, 457 (D.N.J. 2015). “As with any

   negligence-based claim, the defendant must owe a duty of disclosure to the plaintiff.” Prudential Ins.,

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   2013 WL 1431680, at *9. “The guiding principle for the imposition of liability is fairness to both the

   party making the representation and to the party aggrieved by its dissemination.” Id.; see also

   Highlands Ins. Co. v. Hobbs Grp., LLC., 373 F.3d 347, 355 (3d Cir. 2004).

           Here, Mr. Berrada clearly owed a duty of disclosure to Defendants. Mr. Berrada was in

   exclusive control over the information he shared with Defendants, including the scope and level of his

   purported expertise and contacts. Mr. Berrada knew that the representations and assurances he would

   make would be relied on by Defendants, particularly as it related to products and product lines that

   were outside of PNY’s core business. See, e.g., Prudential Ins., 2013 WL 1431680, at *9. The

   remaining elements of a negligent misrepresentation claim are substantially similar to Defendants’

   intentional misrepresentation claim. See id. Thus, for the reasons discussed supra at 27-28, this Court

   should find that the undisputed facts establish that Mr. Berrada committed negligent misrepresentation.

           F.      By Misappropriating PNY Emails, Mr. Berrada Violated The NJTSA.
           The NJTSA “prohibits the actual or threatened misappropriation of a trade secret.” StrikeForce

   Techs., Inc. v. WhiteSky, Inc., No. CIV.A. 13-1895 SRC, 2013 WL 3508835, at *8 (D.N.J. July 11,

   2013) (citing N.J.S.A. §56:15–3). Mr. Berrada’s misappropriation of PNY’s trade secrets is clear,

   undisputed, and warrants judgment on Count VII.

           First, the information that Mr. Berrada misappropriated clearly constituted “trade secrets.” A

   trade secret is broadly defined as information that “[d]erives independent economic value, actual or

   potential, from not being generally known to, and not being readily ascertainable by proper means by,

   other persons who can obtain economic value from its disclosure or use;” and “[i]s the subject of efforts

   that are reasonable under the circumstances to maintain its secrecy.” N.J.S.A. §56:15–2.

           PNY operates in a highly competitive industry. The continued viability of PNY’s business

   depends on keeping all of its competitive business information confidential. Notably, Mr. Berrada has

   acknowledged the confidential nature of the information he was privy to. SOF ¶¶170-71. PNY has

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   taken great steps to keep this information confidential, including: (i) significantly restricting access to

   its financial information, (ii) requiring the signing of NDAs, and (iii) including a warning in emails

   sent from PNY email addresses alerting the recipient (and the sender) that the email contains

   confidential information, the review and distribution of which is prohibited. Id. ¶¶29-32, 61-62, 66, 87.

           Second, there can be no doubt that Mr. Berrada misappropriated PNY’s trade secrets. For

   relevant purposes, the NJTSA defines “misappropriation” as the “[a]cquisition of a trade secret of

   another by a person who knows or has reason to know that the trade secret was acquired by improper

   means,” or the “[d]isclosure. . .of a trade secret of another without express or implied consent of the

   trade secret owner by a person who. . .used improper means to acquire knowledge of the trade secret[.]”

   N.J.S.A. §56:15–2. A person uses “improper means” through the “breach or inducement of a breach

   of an express or implied duty to maintain the secrecy of, or to limit the use or disclosure of, a trade

   secret.” Id. Mr. Berrada knew he acquired these trade secrets (and kept them) by improper means,

   specifically in breach of the NDAs he had signed (see infra at 33-34).12 It also, alternatively, bucks

   reason to think Mr. Berrada has not used or disclosed these trade secrets. Mr. Berrada continues to seek

   employment or consulting opportunities within the same industry. He has admitted to having

   conversations to discuss potential ideas with customers of PNY, and is providing consulting services

   to a potential competitor. See SOF ¶¶186-88. To claim that Mr. Berrada is not or has not used the trade

   secrets he took from PNY is wholly suspect. See NVR, Inc. v. Davern, No. 15-5059 (NLH/KMW),

   2015 WL 9450831, at *2 (D.N.J. Dec. 23, 2015) (entering temporary restraining order where “[t]he

   evidence supports the conclusion that [defendant] obtained this information with the intent of

   benefiting himself financially and harming NVR commercial interests in favor of his new employer”).



   12
      Such conduct is also in breach of the implied duty to not take or utilize such confidential information
   after a business relationship has ended. See, e.g., Singer v. A. Hollander & Son, 202 F.2d 55, 59 (3d
   Cir. 1953); Lamorte Burns & Co. v. Walters, 167 N.J. 285, 298–99, 305 (2001).

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           Defendants have been unable to prove the full extent to which Mr. Berrada has used or

   disclosed PNY’s trade secrets because Mr. Berrada has disposed of or destroyed the personal cellphone

   and laptop he used until late November 2016, and never returned his PNY-issued laptop to PNY. See

   SOF ¶¶176-84. Defendants should not, however, be penalized in the face of such blatant self-serving

   misappropriation.13 Judgment should be entered on Count VII.14

           G.      By Taking And Keeping PNY Emails, And Inappropriately Accessing PNY’s
                   Servers, Mr. Berrada Has Violated The CFAA.

           The CFAA makes it unlawful for any individual to do what Mr. Berrada undisputedly did here:

   to “intentionally access[] a computer without authorization or [to] exceed[] authorized access, and

   thereby obtain[] . . . information from any protected computer.” 18 U.S.C. §1030(a)(2)(C). The CFAA

   defines “exceeds authorized access” as follows: “to access a computer with authorization and to use

   such access to obtain or alter information in the computer that the accessor is not entitled to so obtain

   or alter.” 18 U.S.C. §1030(g). To maintain a civil action, a party must establish, among other factors,

   that the unlawful computer access caused “a loss to 1 or more persons during any 1-year period . . .

   aggregating at least $5,000 in value.” 18 U.S.C. §1030(c)(4)(A)(i)(I). All of these elements are met.

           Mr. Berrada has both intentionally accessed PNY’s computer system without authorization and

   accessed PNY’s computer system in a way that exceeded his authorized access. First, after the

   Consulting Agreement ended, and Mr. Berrada’s authorized access to the PNY system concluded, Mr.

   Berrada accessed PNY’s system to forward emails containing confidential PNY information to his

   own personal email address. See SOF ¶163. He also continued to access PNY’s servers in other ways.

   For example, Mr. Berrada used as an exhibit during depositions a February 5, 2015 email from his



   13
      Thus, should the Court deny Defendants’ motion for summary judgment as to their Counterclaims,
   Defendants respectfully request leave to file a motion for an adverse inference.
   14
      Due to the willful nature of Mr. Berrada’s misappropriation, punitive damages, fees, and costs should
   be awarded to Defendants. N.J.S.A. §56:15–4(b); id. §56:15–6(a).

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   PNY account. While Mr. Berrada claimed he produced this email on a USB drive during discovery,

   this email was undisputedly not part of this production, as no email in that production is post-dated

   November 11, 2014. See id. ¶¶168, 172. Thus, it cannot be disputed that Mr. Berrada continued to

   access PNY’s servers long after his relationship with PNY ended.

           Not only that, but Mr. Berrada clearly exceeded his authorized access to PNY’s servers. As the

   November NDA makes clear, Mr. Berrada was given access to PNY’s servers to provide “consulting

   services to represent PNY to suppliers and gain product sourcing information, obtain samples, and

   information to help make decisions regarding future product offerings, [and] [o]ffer suggestions

   regarding team management.” See SOF ¶66; see also Richter Decl. Ex. 30. He explicitly agreed to not

   “cop[y], distribute[] or disseminate[] in any way or form” the confidential information he received

   from PNY, and to not use the confidential information “for any purpose, except as expressly stated” in

   the NDA. See Richter Decl. Ex. 30. By downloading and keeping all of his PNY emails, Mr. Berrada

   clearly exceeded his authorized access to PNY’s servers. See, e.g., United States v. John, 597 F.3d 263,

   272 (5th Cir. 2010) (“Access to a computer and data that can be obtained from that access may be

   exceeded if the purposes for which access has been given are exceeded.”); see United States v.

   Rodriguez, 628 F.3d 1258, 1263 (11th Cir. 2010); EF Cultural Travel BV v. Explorica, Inc., 274 F.3d

   577, 581-84 (1st Cir. 2001); Int’l Airport Ctrs., LLC v. Citrin, 440 F.3d 418, 420-21 (7th Cir. 2006).15

          Finally, Defendants have suffered losses exceeding $5,000—although the full extent of their

   losses cannot be determined due to Mr. Berrada’s spoliation.16 The CFAA defines “loss” to include


   15
      There is a current Circuit split regarding what “exceeding authorized access” means. The Third
   Circuit has yet to address this split. See, e.g., Chubb Ina Holdings Inc. v. Chang, No. CV 16-2354-
   BRM-DEA, 2017 WL 499682, at *6 (D.N.J. Feb. 7, 2017). The split is irrelevant here because Mr.
   Berrada exceeded his authority to access PNY’s email server when he stole thousands of PNY emails
   containing confidential information. See Reyeros v. United States, No. CIV.A. 10-2907 SDW, 2011
   WL 5080308, at *11 (D.N.J. Oct. 24, 2011) (Wigenton, J.) (CFAA conviction upheld where agent
   exceeded access granted in documented restrictions).
   16
      Due to Mr. Berrada’s spoliation, see supra at 7, Defendants have been unable to determine the full
   extent by which they have been threatened by a loss of business expectancies, good will, customers,
                                                     32
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   “any reasonable cost to any victim, including the cost of responding to an offense, conducting a damage

   assessment, and restoring the data, program, system, or information to its condition prior to the offense,

   and any revenue lost, cost incurred, or other consequential damages incurred because of interruption

   of service.” 18 U.S.C. §1030(e)(11); Grant Mfg. & Alloying, Inc. v. McIlvain, 499 F. App’x 157, 159

   (3d Cir. 2012). Here, Defendants have suffered more than $5,000 in costs analyzing and investigating

   Mr. Berrada’s unauthorized access to its computer servers to assess the damage that had been caused

   or the extent of his transfer of confidential information. SOF ¶¶185; see Yoder & Frey Auctioneers,

   Inc. v. EquipmentFacts, LLC, 774 F.3d 1065, 1074 (6th Cir. 2014) (investigation and damage

   assessment of company included in “loss”); A.V. ex rel. Vanderhye v. iParadigms, LLC, 562 F.3d 630,

   646 (4th Cir. 2009) (same). Judgment should be entered on Count VIII.

           H.      By Taking PNY’s Emails, Mr. Berrada’s Is Liable Under The NJCROA.
           The NJCROA makes it unlawful to alter, damage, access, or obtain data from a computer

   without authorization. It permits “[a] person or enterprise damaged in business or property” to sue for

   compensatory and punitive damages, as well as fees and costs. N.J.S.A. §2A:38A–3. Courts have

   interpreted the NJCROA “in harmony with its federal counterpart,” the CFAA. In re Nickelodeon

   Consumer Privacy Litig., 827 F.3d 262, 278 (3d Cir. 2016). Thus, for the reasons just discussed,

   judgment should be entered in favor of Defendants on Count IV, and, due to Mr. Berrada’s willful

   conduct, punitive damages, fees, and costs should be awarded.

           I.      Mr. Berrada Has Clearly Breached The NDA.
           Defendants assert a claim for breach of contract based on Mr. Berrada’s violation of the

   November NDA. The NDA, after all, states that confidential information “shall . . . not be copied,

   distributed or disseminated in any way or form by Recipient without the prior written consent of the


   and trade secrets. Mr. Berrada has, at the least, testified that he has had discussions with competitors
   and customers of PNY, is currently providing consulting services for another company, and is still
   considering starting a shredder line elsewhere. SOF ¶¶186-88.
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   disclosure,” and “shall . . . not be used by Recipient for any purpose . . . without the prior written

   consent of the Disclosure[.]” Richter Decl Ex. 30. By downloading and keeping nearly 19,000 PNY

   emails that Mr. Berrada has admitted contain “Confidential Information,” Mr. Berrada has clearly

   breached the NDA.17 SOF ¶¶164-71. Thus, judgment should be entered on Count X.

           J.      Mr. Berrada Has Converted Defendants’ Emails.
           Conversion is “an unauthorized assumption and exercise of the right of ownership over goods

   or personal chattels belonging to another, to the alteration of their condition or the exclusion of an

   owner’s rights.” Barco Auto Leasing Corp. v. Holt, 228 N.J. Super. 77, 83 (App. Div. 1988). Mr.

   Berrada has admitted that he downloaded and kept PNY emails (and attachments) after the time when

   his consulting relationship with PNY ended.18 Moreover, discovery has established that Mr. Berrada

   either kept and/or destroyed his PNY-issued laptop. PNY has never received this laptop back—and

   thus have been prevented from determining the damage caused to it by Mr. Berrada’s wrongful taking

   of PNY emails and documents.19 Such conduct warrants the award of punitive damages. For these

   reasons, judgment should be entered on Count XI.

                                               CONCLUSION
           For all these reasons, judgment should be entered in Defendants’ favor on all of Mr. Berrada’s

   claims, as well as their own Counterclaims.




   17
      While Defendants cannot be aware of all the damage caused by Mr. Berrada’s breach (due to Mr.
   Berrada’s spoliation), they are still entitled to (at the least) nominal damages for his breach. Webster v.
   Rutgers-New Jersey Med. Sch., No. CV 15-08689, 2017 WL 3399997, at *11 (D.N.J. Aug. 4, 2017).
   18
      To the extent the emails and/or documents are found to be intangible, “[a] common-law cause of
   action of conversion applies to intangible electronic records that are stored on a computer and are
   indistinguishable from printed documents.” 90 C.J.S. Trover and Conversion §14; see Thyroff v.
   Nationwide Mut. Ins. Co., 8 N.Y.3d 283, 292–93 (2007) (electronic records subject to conversion).
   19
      New Jersey courts permit conversion claims for nominal damages and even punitive damages in the
   absence of compensatory damages. City Select Auto Sales, Inc. v. David Randall Assocs., Inc., No.
   CIV.A. 11-2658 JBS, 2014 WL 4755487, at *8 (D.N.J. Sept. 24, 2014).
                                                       34
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                                     WINSTON & STRAWN LLP
                                     Attorneys for Defendants Gadi Cohen and PNY
                                     Technologies, Inc.

   Dated: March 20, 2018                    By:    s/ James S. Richter
                                                  James S. Richter
                                                  jrichter@winston.com
   OF COUNSEL:
   Thomas Patrick Lane
   Seth E. Spitzer
   WINSTON & STRAWN LLP
   200 Park Avenue
   New York, New York 10166
   (212) 294-6700




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                                 CERTIFICATION OF SERVICE

          I hereby certify that copies of Defendants’ Motion for Summary Judgment, Local Civil Rule

   56.1 Statement of Material Facts Not in Dispute, Declaration of James S. Richter in Support of

   Defendants’ Motion for Summary Judgment, all exhibits attached thereto, and all other supporting

   papers were served upon all counsel by ECF and Electronic Mail.



                                                       s/ James S. Richter
                                                       James S. Richter

   Dated: March 20, 2017




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